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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------- X
STEVEN MANFREDO, on behalf of himself and all others :
similarly situated,                                                         : Case No. 20 Civ. 3728
                                                                            :
                                             Plaintiff,                     : CLASS AND COLLECTIVE
                  - against -                                               : ACTION COMPLAINT
                                                                            :
VIP AUTO GROUP OF LONG ISLAND, INC.,                                        :
LEVITTOWN FORD LLC, WESTBURY JEEP CHRYSLER :
DODGE, INC., WESTBURY IMPORTS LLC f/k/a                                     :
WESTBURY FIAT LLC, d/b/a ALFA ROMEO OF                                      :
WESTBURY and FIAT OF WESTBURY, GRAND PRIX                                   :
SUBARU, LLC, LINDENHURST SUBARU LLC d/b/a                                   :
SOUTH SHORE SUBARU, VIP OF HUNTINGTON, LLC :
f/k/a and d/b/a VOLVO CARS OF HUNTINGTON, LLC,                              :
GARDEN CITY JEEP CHRYSLER DODGE, LLC, and                                   :
JOEL SPORN                                                                  :
                                                                            :
                                             Defendants.                    :
--------------------------------------------------------------------------- X

       Plaintiff Steven Manfredo, on behalf of himself and all others similarly situated

(“Plaintiff” or “Class Representative”), through his attorneys Kessler Matura P.C., complaining

of VIP Auto Group of Long Island, Inc., Levittown Ford LLC, Westbury Jeep Chrysler Dodge,

Inc., Westbury Imports LLC f/k/a Westbury Fiat LLC, d/b/a Alfa Romeo of Westbury and Fiat

of Westbury, Grand Prix Subaru, LLC, Lindenhurst Subaru LLC d/b/a South Shore Subaru, VIP

of Huntington, LLC f/k/a and d/b/a Volvo Cars of Huntington, LLC, Garden City Jeep Chrysler

Dodge, LLC (collectively, “Corporate Defendants”), and Joel Sporn (together with Corporate

Defendants, “Defendants”), allege as follows:

                                        INTRODUCTION

       1.      This is a class action brought on behalf of current and former commission-paid

employees of Defendants who were denied proper wages and wage statements.




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       2.        Through their practice of refusing to pay employees at the proper minimum wage

rate, Defendants violated the Fair Labor Standards Act of 1938 (“FLSA”), as amended, 29

U.S.C. § 201, et seq., and New York Labor Law (“NYLL” or “N.Y. Lab. Law”) Art. 6 & 9.

Defendants’ failure to pay proper overtime wages and provide accurate wage statements also

violated the NYLL.

                                   JURISDICTION & VENUE

       3.        Jurisdiction of the Court over this controversy is based upon 29 U.S.C. § 201, et

seq., 28 U.S.C. §§ 1331 and 1337 and the doctrine of supplemental jurisdiction pursuant to 28

U.S.C. § 1367.

       4.        This Court has jurisdiction over all state law claims brought in this action

pursuant to 28 U.S.C. § 1367.

       5.        Defendants are authorized to do business in New York State and do business in

Nassau and Suffolk Counties.

       6.        Accordingly, this action properly lies in the Eastern District of New York,

pursuant to 28 U.S.C. § 1391.

                                         THE PARTIES

Plaintiff Steven Manfredo

       7.        Plaintiff Steven Manfredo is an individual who resides in Bayshore, New York.

       8.        At all times relevant to the Complaint, Steven Manfredo was an “employee”

within the meaning of Section 3(e) of the FLSA, 29 U.S.C. § 203(e) and N.Y. Lab. Law §§

190(2), 651(5).

       9.        Specifically, Steven Manfredo was employed by Defendants as a salesperson

from about March 2018 through March 2020.



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Defendant VIP Auto Group of Long Island, Inc.

          10.    Upon information and belief, VIP Auto Group of Long Island, Inc. was and still is

a domestic corporation, authorized to do business pursuant to the laws of the State of New York.

          11.    Upon information and belief, VIP Auto Group of Long Island, Inc.’s principal

place of business is located at 3195 Hempstead Turnpike, Levittown, New York 11756.

          12.    VIP Auto Group of Long Island, Inc. lists its address to which the Department of

State will mail process if accepted on its behalf as: VIP Auto Group of Long Island, Inc., 3195

Hempstead Turnpike, Levittown, New York 11756.

          13.    Upon information and belief, VIP Auto Group of Long Island, Inc. is an

automotive dealership business.

          14.    At all times hereinafter mentioned, VIP Auto Group of Long Island, Inc. was and

still is an “employer” within the meaning of 29 U.S.C. § 203(d), and N.Y. Lab. Law §§ 190(3),

651(6).

          15.    At all times hereinafter mentioned, the activities of VIP Auto Group of Long

Island, Inc. constituted an “enterprise” within the meaning of 29 U.S.C. §§ 203(r)-(s).

          16.    Upon information and belief, VIP Auto Group of Long Island, Inc. maintains

control, oversight, and direction over its operations and employment practices.

          17.    At all times hereinafter mentioned, VIP Auto Group of Long Island, Inc.

employed employees, including Plaintiff, who regularly engaged in commerce or in the

production of goods for commerce or in handling, selling or otherwise working on goods and

materials which have moved in or been produced for commerce within the meaning of 29 U.S.C.

§§ 203(b), (g), (i), (j), (r) & (s).




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          18.   VIP Auto Group of Long Island, Inc.’s annual gross volume of business is not less

than $500,000 within the meaning of 29 U.S.C. § 203(s)(A)(ii).

Defendant Westbury Jeep Chrysler Dodge, Inc.

          19.   Upon information and belief, Westbury Jeep Chrysler Dodge, Inc. was and still is

a domestic corporation, authorized to do business pursuant to the laws of the State of New York.

          20.   Upon information and belief, Westbury Jeep Chrysler Dodge, Inc.’s principal

place of business is located at 100 Jericho Turnpike, Jericho, New York 11753.

          21.   Westbury Jeep Chrysler Dodge, Inc. lists the address to which the Department of

State will mail process if accepted on its behalf as: Westbury Jeep Chrysler Dodge, Inc., 3195

Hempstead Turnpike, Levittown, New York 11756.

          22.   Westbury Jeep Chrysler Dodge, Inc. states that its Chief Executive Officer and

address are as follows: Joel Sporn, 3195 Hempstead Turnpike, Levittown, New York 11756.

          23.   Upon information and belief, Westbury Jeep Chrysler Dodge, Inc. is an

automotive dealership business.

          24.   At all times hereinafter mentioned, Westbury Jeep Chrysler Dodge, Inc. was and

still is an “employer” within the meaning of 29 U.S.C. § 203(d) and N.Y. Lab. Law §§ 190(3),

651(6).

          25.   At all times hereinafter mentioned, the activities of Westbury Jeep Chrysler

Dodge, Inc. constituted an “enterprise” within the meaning of 29 U.S.C. §§ 203(r)-(s).

          26.   Upon information and belief, Westbury Jeep Chrysler Dodge, Inc. maintains

control, oversight, and direction over its operations and employment practices.

          27.   At all times hereinafter mentioned, Westbury Jeep Chrysler Dodge, Inc. employed

employees, including Plaintiff, who regularly engaged in commerce or in the production of



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goods for commerce or in handling, selling or otherwise working on goods and materials which

have moved in or been produced for commerce within the meaning of 29 U.S.C. §§ 203(b), (g),

(i), (j), (r) & (s).

Defendant Westbury Imports LLC

         28.      Upon information and belief, Westbury Imports LLC was and still is a domestic

corporation, authorized to do business pursuant to the laws of the State of New York.

         29.      Upon information and belief, Westbury Imports LLC does business as Alfa

Romeo of Westbury.

         30.      Upon information and belief, Westbury Imports LLC does business as Fiat of

Westbury.

         31.      Upon information and belief, Westbury Imports LLC’s principal place of business

is located at 928 Jericho Turnpike, Westbury, New York 11590.

         32.      Westbury Imports LLC lists the address to which the Department of State will

mail process if accepted on its behalf as: Westbury Imports LLC, 3195 Hempstead Turnpike,

Levittown, New York 11756.

         33.      Upon information and belief, Westbury Imports LLC is an automotive dealership

business.

         34.      At all times hereinafter mentioned, Westbury Imports LLC was and still is an

“employer” within the meaning of 29 U.S.C. § 203(d), and N.Y. Lab. Law §§ 190(3), 651(6).

         35.      At all times hereinafter mentioned, the activities of Westbury Imports LLC

constituted an “enterprise” within the meaning of 29 U.S.C. §§ 203(r)-(s).

         36.      Upon information and belief, Westbury Imports LLC maintains control, oversight,

and direction over its operations and employment practices.



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        37.    At all times hereinafter mentioned, Westbury Imports LLC employed employees,

including Plaintiff, who regularly engaged in commerce or in the production of goods for

commerce or in handling, selling or otherwise working on goods and materials which have

moved in or been produced for commerce within the meaning of 29 U.S.C. §§ 203(b), (g), (i), (j),

(r) & (s).

Defendant Grand Prix Subaru, LLC

        38.    Upon information and belief, Grand Prix Subaru, LLC was and still is a domestic

corporation, authorized to do business pursuant to the laws of the State of New York.

        39.    Upon information and belief, Grand Prix Subaru, LLC was formerly known as

Grand Prix Jeep Chrysler, LLC.

        40.    Upon information and belief, Grand Prix Subaru, LLC’s principal place of

business is located at 500 South Broadway, Hicksville, New York 11801.

        41.    Grand Prix Subaru, LLC lists the address to which the Department of State will

mail process if accepted on its behalf as: Grand Prix Subaru, LLC, 3195 Hempstead Turnpike,

Levittown, New York 11756.

        42.    Upon information and belief, Grand Prix Subaru, LLC is an automotive

dealership business.

        43.    At all times hereinafter mentioned, Grand Prix Subaru, LLC was and still is an

“employer” within the meaning of 29 U.S.C. § 203(d) and N.Y. Lab. Law §§ 190(3), 651(6).

        44.    At all times hereinafter mentioned, the activities of Grand Prix Subaru, LLC

constituted an “enterprise” within the meaning of 29 U.S.C. §§ 203(r)-(s).

        45.    Upon information and belief, Grand Prix Subaru, LLC maintains control,

oversight, and direction over its operations and employment practices.



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         46.      At all times hereinafter mentioned, Grand Prix Subaru, LLC employed

employees, including Plaintiff, who regularly engaged in commerce or in the production of

goods for commerce or in handling, selling or otherwise working on goods and materials which

have moved in or been produced for commerce within the meaning of 29 U.S.C. §§ 203(b), (g),

(i), (j), (r) & (s).

Defendant Lindenhurst Subaru LLC

         47.      Upon information and belief, Lindenhurst Subaru LLC was and still is a domestic

corporation, authorized to do business pursuant to the laws of the State of New York.

         48.      Upon information and belief, Lindenhurst Subaru LLC’s principal place of

business is located at 305 East Sunrise Highway, Lindenhurst, New York 11757.

         49.      Lindenhurst Subaru LLC lists the address to which the Department of State will

mail process if accepted on its behalf as: Lindenhurst Subaru LLC, 3195 Hempstead Turnpike,

Levittown, New York 11756.

         50.      Lindenhurst Subaru LLC does business as South Shore Subaru.

         51.      Upon information and belief, Lindenhurst Subaru LLC is an automotive

dealership business.

         52.      At all times hereinafter mentioned, Lindenhurst Subaru LLC was and still is an

“employer” within the meaning of 29 U.S.C. § 203(d) and N.Y. Lab. Law §§ 190(3), 651(6).

         53.      At all times hereinafter mentioned, the activities of Lindenhurst Subaru LLC

constituted an “enterprise” within the meaning of 29 U.S.C. §§ 203(r)-(s).

         54.      Upon information and belief, Lindenhurst Subaru LLC maintains control,

oversight, and direction over its operations and employment practices.




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         55.      At all times hereinafter mentioned, Lindenhurst Subaru LLC employed

employees, including Plaintiff, who regularly engaged in commerce or in the production of

goods for commerce or in handling, selling or otherwise working on goods and materials which

have moved in or been produced for commerce within the meaning of 29 U.S.C. §§ 203(b), (g),

(i), (j), (r) & (s).

Defendant VIP of Huntington, LLC

         56.      Upon information and belief, VIP of Huntington, LLC was and still is a domestic

corporation, authorized to do business pursuant to the laws of the State of New York.

         57.      Upon information and belief, VIP of Huntington, LLC’s principal place of

business is located at 345 West Jericho Turnpike, Huntington, New York 11743.

         58.      VIP of Huntington, LLC lists the address to which the Department of State will

mail process if accepted on its behalf as: VIP of Huntington, LLC, 3195 Hempstead Turnpike,

Levittown, New York 11756.

         59.      VIP of Huntington, LLC does business as Volvo Cars of Huntington.

         60.      VIP of Huntington, LLC was formerly known as Volvo Cars of Huntington, LLC

         61.      Upon information and belief, VIP of Huntington, LLC is an automotive

dealership business.

         62.      At all times hereinafter mentioned, VIP of Huntington, LLC was and still is an

“employer” within the meaning of 29 U.S.C. § 203(d) and N.Y. Lab. Law §§ 190(3), 651(6).

         63.      At all times hereinafter mentioned, the activities of VIP of Huntington, LLC

constituted an “enterprise” within the meaning of 29 U.S.C. §§ 203(r)-(s).

         64.      Upon information and belief, VIP of Huntington, LLC maintains control,

oversight, and direction over its operations and employment practices.



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         65.      At all times hereinafter mentioned, VIP of Huntington, LLC employed

employees, including Plaintiff, who regularly engaged in commerce or in the production of

goods for commerce or in handling, selling or otherwise working on goods and materials which

have moved in or been produced for commerce within the meaning of 29 U.S.C. §§ 203(b), (g),

(i), (j), (r) & (s).

Defendant Garden City Jeep Chrysler Dodge, LLC

         66.      Upon information and belief, Garden City Jeep Chrysler Dodge, LLC was and

still is a domestic corporation, authorized to do business pursuant to the laws of the State of New

York.

         67.      Upon information and belief, Garden City Jeep Chrysler Dodge, LLC’s principal

place of business is located at 283 North Franklin Street, Hempstead, New York 11550.

         68.      Garden City Jeep Chrysler Dodge, LLC lists the address to which the Department

of State will mail process if accepted on its behalf as: Garden City Jeep Chrysler Dodge, LLC,

3195 Hempstead Turnpike, Levittown, New York 11756.

         69.      Upon information and belief, Garden City Jeep Chrysler Dodge, LLC is an

automotive dealership business.

         70.      At all times hereinafter mentioned, Garden City Jeep Chrysler Dodge, LLC was

and still is an “employer” within the meaning of 29 U.S.C. § 203(d) and N.Y. Lab. Law §§

190(3), 651(6).

         71.      At all times hereinafter mentioned, the activities of Garden City Jeep Chrysler

Dodge, LLC constituted an “enterprise” within the meaning of 29 U.S.C. §§ 203(r)-(s).

         72.      Upon information and belief, Garden City Jeep Chrysler Dodge, LLC maintains

control, oversight, and direction over its operations and employment practices.



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         73.      At all times hereinafter mentioned, Garden City Jeep Chrysler Dodge, LLC

 employed employees, including Plaintiff, who regularly engaged in commerce or in the

 production of goods for commerce or in handling, selling or otherwise working on goods and

 materials which have moved in or been produced for commerce within the meaning of 29 U.S.C.

 §§ 203(b), (g), (i), (j), (r) & (s).

 Corporate Defendants
         74.      Corporate Defendants constitute a unified operation.

         75.      Corporate Defendants constitute a common enterprise.

         76.      Corporate Defendants have interrelated operations.

         77.      Corporate Defendants have common management.

         78.      Corporate Defendants have a centralized control of labor relations.

         79.      Corporate Defendants have common ownership, including Joel Sporn.

         80.      Corporate Defendants share employees.

         81.      Corporate Defendants commingled funds with each other.

         82.      Corporate Defendants share the same physical addresses in the State of New

 York.

         83.      Corporate Defendants constitute a single employer.

         84.      Corporate Defendants constitute an integrated enterprise.

         85.      Corporate Defendants utilize the same address for service of process:   3195

 Hempstead Turnpike, Levittown, New York 11756.

         86.      Corporate Defendants share a common website: www.vipautomotivegroup.com.

         87.      Corporate Defendants share a common training portal: VIP University Online

 Learning Center, https://lms.latitudelearning.com/home/asp_main.aspx?sCode=VIPUNIVERSITY&

 oCode=VIPUNIVERSITY.

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        88.     Employees across the Corporate Defendants’ locations participate in the “VIP

 University,” which Defendant Joel Sporn describes as Corporate Defendants’ “training arm.”

        89.     Trainees across Corporate Defendants’ locations are provided with common

 training materials and presentations.

        90.     An example is the “Road to a Sale,” which is presented and prepared by VIP

 University Director Dan Ballasy.

        91.     Corporate Defendants use a centralized hiring portal to solicit applications and

 notify the public of job openings: https://workforcenow.adp.com/mascsr/default/mdf/recruitment/

 recruitment.html?cid=d98d34b4-a989-4cd9-940d-b8dccb723b10&&ccId=19000101_000001&type=

 MP&lang=en_US.

        92.     For example, as of August 6, 2020, Corporate Defendants used a single job

 posting/description for a Sales Professional position that applied to multiple locations.

        93.     Corporate Defendants’ websites are linked to one another.

        94.     Corporate Defendants maintain control, oversight, and direction over their

 commission-paid employees and other employees, including timekeeping, payroll and other

 employment practices that applied to them.

        95.     At all times hereinafter mentioned, Corporate Defendants individually and

 collectively were and still are “employers” within the meaning of 29 U.S.C. § 203(d), and N.Y.

 Lab. Law §§ 190(3), 651(5).

        96.     At all times hereinafter mentioned, the activities of Corporate Defendants

 constituted an “enterprise” within the meaning of 29 U.S.C. § 203(r) & (s).

        97.     At all times hereinafter mentioned, Corporate Defendants employed employees,

 including Plaintiff, who regularly engaged in commerce or in the production of goods for

 commerce or in handling, selling or otherwise working on goods and materials which have

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 moved in or been produced for commerce within the meaning of 29 U.S.C. § 203(b), (g), (i), (j),

 (r) & (s).

         98.    Corporate Defendants collective annual gross volume of business is not less than

 $500,000 within the meaning of 29 U.S.C. § 203(s)(A)(ii).

 Defendant Joel Sporn

         99.    Upon information and belief, Joel Sporn has an ownership interest in:

                a. VIP Auto Group of Long Island, Inc.;

                b. Levittown Ford LLC;

                c. Westbury Jeep Chrysler Dodge, Inc.;

                d. Westbury Imports LLC;

                e. Grand Prix Subaru, LLC;

                f. Lindenhurst Subaru LLC;

                g. VIP of Huntington, LLC; and

                h. Garden City Jeep Chrysler Dodge, LLC.

         100.   Upon information and belief, Joel Sporn is the President of VIP Auto Group of

 Long Island, Inc.

         101.   Joel Sporn holds himself out as the President of VIP Auto Group of Long Island,

 Inc., including in on-boarding and training materials given to Corporate Defendants’ employees.

         102.   Upon information and belief, Joel Sporn is the President of:

                a. Levittown Ford LLC;

                b. Westbury Jeep Chrysler Dodge, Inc.;

                c. Westbury Imports LLC;

                d. Grand Prix Subaru, LLC;



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              e. Lindenhurst Subaru LLC;

              f. VIP of Huntington, LLC; and

              g. Garden City Jeep Chrysler Dodge, LLC.

       103.   Upon information and belief, Joel Sporn is a shareholder of:

              a. VIP Auto Group of Long Island, Inc.;

              b. Levittown Ford LLC;

              c. Westbury Jeep Chrysler Dodge, Inc.;

              d. Westbury Imports LLC;

              e. Grand Prix Subaru, LLC;

              f. Lindenhurst Subaru LLC;

              g. VIP of Huntington, LLC; and

              h. Garden City Jeep Chrysler Dodge, LLC.

       104.   Upon information and belief, Joel Sporn is a corporate officer of:

              a. VIP Auto Group of Long Island, Inc.;

              b. Levittown Ford LLC;

              c. Westbury Jeep Chrysler Dodge, Inc.;

              d. Westbury Imports LLC;

              e. Grand Prix Subaru, LLC;

              f. Lindenhurst Subaru LLC;

              g. VIP of Huntington, LLC; and

              h. Garden City Jeep Chrysler Dodge, LLC.

       105.   Upon information and belief, Joel Sporn is the Chief Executive Officer of:

              a. VIP Auto Group of Long Island, Inc.;



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               b. Levittown Ford LLC;

               c. Westbury Jeep Chrysler Dodge, Inc.;

               d. Westbury Imports LLC;

               e. Grand Prix Subaru, LLC;

               f. Lindenhurst Subaru LLC;

               g. VIP of Huntington, LLC; and

               h. Garden City Jeep Chrysler Dodge, LLC.

        106.   Upon information and belief, Joel Sporn is an agent of:

               a. VIP Auto Group of Long Island, Inc.;

               b. Levittown Ford LLC;

               c. Westbury Jeep Chrysler Dodge, Inc.;

               d. Westbury Imports LLC;

               e. Grand Prix Subaru, LLC;

               f. Lindenhurst Subaru LLC;

               g. VIP of Huntington, LLC; and

               h. Garden City Jeep Chrysler Dodge, LLC.

        107.   Upon information and belief, Joel Sporn has the authority over personnel

 decisions for Corporate Defendants.

        108.   Upon information and belief, Joel Sporn has the authority over payroll decisions

 for Corporate Defendants.

        109.   Upon information and belief, Joel Sporn supervises employees of the Corporate

 Defendants.




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        110.    Upon information and belief, Joel Sporn has the authority to hire and fire

 employees for Corporate Defendants.

        111.    Joel Sporn has the power to make binding decisions for Corporate Defendants.

        112.    Joel Sporn has the power to transfer the assets or liabilities of Corporate

 Defendants.

        113.    Joel Sporn has the power to declare bankruptcy on behalf of Corporate

 Defendants.

        114.    Joel Sporn has the power to enter into contracts on behalf of Corporate

 Defendants.

        115.    Joel Sporn holds himself out as the founder and owner of Corporate Defendants.

        116.    Joel Sporn holds himself out as the President of Corporate Defendants.

        117.    Joel Sporn oversees the day-to-day operations at Corporate Defendants.

        118.    Joel Sporn “is involved in the day to day management of” Westbury Jeep

 Chrysler Dodge, Inc. See Answer, Talvera v. Westbury Jeep Chrysler Dodge, Inc., No. 2:19 Civ.

 3457, ECF No. 12 (E.D.N.Y. Sept. 13, 2019), ¶ 10.

        119.    Joel Sporn maintains an office at the Levittown location, where Plaintiff worked.

        120.    Corporate Defendants’ managers report to Joel Sporn and are under his

 supervision.

        121.    At all times hereinafter mentioned, Joel Sporn was and still is an “employer”

 within the meaning of 29 U.S.C. § 203(d), and N.Y. Lab. Law §§ 190(3), 651(5).

                           FLSA COLLECTIVE ACTION CLAIMS

        122.    Plaintiff seeks to proceed as a collective action with regard to the First Cause of

 Action, pursuant to 29 U.S.C. § 216(b) on behalf of himself and the following class of persons:



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                        All commission-paid salespersons, however titled,
                        employed by Defendants at any time in the three years prior
                        to the filing of this Complaint (the “FLSA Collective”).

        123.    Upon information and belief, there are approximately more than 40 current and

 former employees that are similarly situated to Plaintiff who were denied the minimum wage at

 the proper rate.

        124.    Plaintiff represents other employees and is acting on behalf of Defendants’

 current and former employees’ interests as well as his own interests in bringing this action.

        125.    Defendants unlawfully required Plaintiff and the FLSA Collective to work

 workweeks in which they earned less than the applicable minimum wage.

        126.    Defendants was aware or should have been aware that the law required it to pay

 Plaintiff and the FLSA Collective the applicable minimum wage each week.

        127.    The FLSA Collective is readily identifiable and locatable through the use of

 Defendants’ records. The FLSA Collective should be notified of and allowed to opt-in to this

 action, pursuant to 29 U.S.C. § 216(b). Unless the Court promptly issues such a notice, the

 FLSA Collective, who have been unlawfully deprived of minimum wages in violation of the

 FLSA, will be unable to secure compensation to which they are entitled, and which has been

 unlawfully withheld from them by Defendants.

                    FEDERAL RULE OF CIVIL PROCEDURE RULE 23
                         NEW YORK CLASS ALLEGATIONS
        128.    Plaintiff brings the Second, Third, and Fourth Causes of Action on his behalf and

 as a class action, pursuant to Fed R. Civ. P. 23(a) and (b), on behalf of the following class of

 persons:

                        All commission-paid salespersons, however titled,
                        employed by Defendants at any time in the six years prior
                        to the filing of this Complaint (the “Class”).


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         129.    The persons in the Class are so numerous that joinder of all members is

 impracticable. Although, the precise number of such persons is unknown, and facts on which the

 calculation of that number can be based are presently within the sole control of Defendants.

         130.    Upon information and belief, the size of the Class exceeds 40.

         131.    Given the size of the sales staff at each location and turnover through the six-year

 period, the Class size is at least 80 individuals.

         132.    For example, at Levittown Ford, where Plaintiff worked, he was one of the

 approximately 14 salespeople.

         133.    The Second, Third, and Fourth Causes of Action are properly maintainable as a

 class action under Fed. R. Civ. Pro. 23(b)(3). There are questions of law and fact common to the

 Class that predominate over any questions solely affecting individual members of the Class,

 including but not limited to:

                 a. whether Defendants failed to pay the minimum wage in all weeks to the
                    Class Representative and the Class in violation of and within the meaning of
                    the N.Y. Lab. Law § 650, et seq. and the supporting New York State
                    Department of Labor Regulations, 12 N.Y.C.R.R. Part 142;

                 b. whether Defendants failed to pay proper compensation to the Class
                    Representative and the Class for all work hours in excess of 40 per workweek
                    in violation of and within the meaning of the N.Y. Lab. Law §§ 190, 650, et
                    seq. and the supporting New York State Department of Labor Regulations,
                    12 N.Y.C.R.R. Part 142;

                 c. whether Defendants failed to provide the Class Representative and the Class
                    with proper wage statements (i.e., paystub) in violation of and within the
                    meaning of the N.Y. Lab. Law § 195;

                 d. whether Defendants acted in good faith when failing to pay the Class
                    Representative and the Class;

                 e. whether Defendants acted in good faith when failing to provide accurate
                    paystubs to the Class Representative and the Class; and

                 f. the nature and extent of class-wide injury and the measure of damages for
                    those injuries.

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         134.    The Class Representative fairly and adequately protect the interests of the Class

 and have no interests antagonistic to the class.

         135.    The Class Representative is represented by attorneys who are experienced and

 competent in both class litigation and employment litigation.

         136.    The Class Representative and the Class have been equally affected by

 Defendants’ failure to pay proper wages. Moreover, members of the Class still employed by

 Defendants may be reluctant to raise individual claims for fear of retaliation.

         137.    Defendants have acted or refused to act on grounds generally applicable to the

 Class, thereby making appropriate final injunctive relief or corresponding declaratory relief with

 respect to the class as a whole.

         138.    Plaintiff’s claims are typical of those of the Class. Plaintiff and the Class were

 subjected to Defendants’ policies, practices, programs, procedures, protocols and plans alleged

 herein concerning the failure to pay proper wages and the failure to keep adequate records.

 Plaintiff’s job duties are typical of those of the Class.

         139.    A class action is superior to other available methods for the fair and efficient

 adjudication of this litigation – particularly in the context of wage litigation like the present

 action, where individual plaintiffs may lack the financial resources to vigorously prosecute a

 lawsuit in federal court against a corporate defendant. The Class has been damaged and are

 entitled to recovery as a result of Defendants’ common and uniform policies, practices, and

 procedures. Although the relative damages suffered by individual members of the Class are not

 de minimis, such damages are small compared to the expense and burden of individual

 prosecution of this litigation. In addition, class treatment is superior because it will obviate the




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 need for unduly duplicative litigation that might result in inconsistent judgments about

 Defendants’ practices.

                           CLASS-WIDE FACTUAL ALLEGATIONS
          140.   Plaintiff and the members of the FLSA Collective and Class (collectively, “Class

 Members”) are victims of Defendants’ common policy and plan that violated their rights under

 the FLSA by paying Class Members weekly wages at a rate less the applicable minimum wage

 times the number of hours worked. At all times relevant, Defendants’ unlawful policy and

 pattern or practice has been willful.

          141.   Class Members sell automobiles to Defendants’ customers.

          142.   Class Members are schedule to work upwards of 50 hours a week to sell

 Defendants’ inventory of vehicles.

          143.   For example, attached as Exhibit B is sample schedule from the Levittown

 location.

          144.   Defendants pay them a weekly salary, plus commissions and bonuses on those

 sales.

          145.   If Class Members do not make sales in a given week, their corresponding pay will

 only be for their weekly salary.

          146.   Plaintiff and the Class Members are victims of Defendants’ common policy and

 plan that violated their rights under the NYLL by paying Class Members weekly wages at a rate

 less the applicable overtime rate based on the number of hours worked. At all times relevant,

 Defendants’ unlawful policy and pattern or practice has been either willful or in the absence of

 good faith.




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        147.    Despite requiring Class Members to work over 40 hours a week, Defendants did

 not pay Class Members at the rate of one and one-half times the minimum wage for all hours

 worked over 40 in all weeks worked.

        148.    In those weeks when Class Members made little to no sales, their wages fell

 below the overtime requirements of the NYLL.

        149.    Plaintiff and the Class Members are victims of Defendants’ common policy and

 plan that violated their rights under the NYLL by failing to provide them with accurate wage

 statements. At all times relevant, Defendants’ unlawful policy and pattern or practice has been

 either willful or in the absence of good faith.

        150.    Section 195(3) of the NYLL requires that employers “furnish each employee with

 a statement with every payment of wages” that contains, inter alia, the “name of the employer.”

 N.Y. Lab. Law § 195(3).

        151.    It also provides that “[f]or all employees who are not exempt from overtime

 compensation as established in the commissioner’s minimum wage orders or otherwise provided

 by New York state law or regulation, the statement shall include . . . the number of regular hours

 worked, and the number of overtime hours worked.” Id.

        152.    Defendants’ paystubs, however, failed to provide Class Members with the

 employers’ actual name and failed to disclose the number of hours worked by Class Members.

 See Ex. B (Sample Paystub).

        153.    Class Members are not exempt from the overtime provisions of the NYLL.

        154.    In a 2010 opinion letter, the New York State Department of Labor specifically

 addressed whether automobile salespersons are exempt from the NYLL’s overtime requirement

 and stated that “the State minimum wage orders automotive salespersons be paid overtime at a



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 rate of not less one and one half times the minimum wage for all hours worked in excess of forty

 per work week.” Maria L. Colavito, Request for Opinion: Automotive Salespersons, RO-09-

 0177, Feb. 25, 2010, https://labor.ny.gov/legal/counsel/pdf/Minimum%20Wage-Generally/RO-09-

 0177%20-%20Minimum%20Wage%20Automotive.pdf.

         155.   Defendants were or should have been aware that the FLSA and NYLL required

 them to pay Class Members the applicable minimum wages each week.

         156.   Defendants were or should have been aware that the NYLL required them to pay

 Class Members the applicable overtime rate for hours worked over 40 each week.

         157.   Defendants were or should have been aware that the NYLL required them to

 provide accurate wage statements each pay period.

         158.   Defendants’ unlawful conduct has been widespread, repeated, and consistent.

                         PLAINTIFF’S FACTUAL ALLEGATIONS

         159.   Plaintiff Steven Manfredo was an employee of Defendants, working under their

 direct supervision.

         160.   Manfredo was employed by Defendants from about March 2018 through March

 2020.

         161.   Manfredo worked as a commission-paid salesperson at the Levittown location.

         162.   At all times, Manfredo was required to be paid at the applicable minimum wage.

         163.   At all times, Manfredo was required to overtime pay at the rate of one and one-

 half times the applicable minimum wage.

         164.   Throughout his employment, Manfredo regularly worked over 40 hours a week.

 See Ex. B (Sample Schedule).




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        165.     In numerous workweeks, however, Defendants only paid him his $400 salary.

 See Ex. C (Sample Paystub).

        166.    Moreover, throughout his employment, Manfredo was given a paystub that failed

 to report the actual name of his employer and the hours he worked. See id.

                                 FIRST CAUSE OF ACTION
                                  FLSA – Minimum Wages
                    (Brought on behalf of Plaintiff and the FLSA Collective)

        167.    Plaintiff incorporates by reference all preceding allegations.

        168.    Plaintiff and members of the FLSA Collective are employees entitled to be paid

 no less than the applicable minimum wage.

        169.    Defendants employed Plaintiff and Class Members for workweeks in which

 Plaintiff and Class Members were paid at a rate of less than the applicable minimum wage.

        170.    Plaintiff has expressed his consent to make these claims against Defendants by

 filing a written consent form, pursuant to 29 U.S.C. § 216(b). See Ex. A (Consent).

        171.    Defendants failed to make a good faith effort to comply with the FLSA with

 respect to compensating Plaintiff and the FLSA Collective.

        172.    Because Defendants’ violations of the FLSA were willful, a three-year statute of

 limitations applies, pursuant to 29 U.S.C. § 255.

        173.    As a consequence of the willful underpayment of wages, alleged above, Plaintiff

 and members of the FLSA Collective incurred damages thereby and Defendants are indebted to

 them in the amount of the unpaid minimum wages, together with interest, liquidated damages,

 attorneys’ fees, and costs in an amount to be determined at trial.

                                SECOND CAUSE OF ACTION
                                   NYLL – Minimum Wages
                          (Brought on behalf of Plaintiff and the Class)

        174.    Plaintiff incorporates by reference all preceding allegations.

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         175.   Plaintiff and Class Members are employees entitled to be paid no less than the

 applicable minimum wage.

         176.   Defendants employed Plaintiff and Class Members for workweeks in which

 Plaintiff and Class Members were paid at a rate of less than the applicable minimum wage.

         177.   By the course of conduct set forth above, Defendants violated N.Y. Lab. Law §

 650, et seq.; 12 N.Y.C.R.R. §§ 142-2.1, 2.9.

         178.   Defendants had a policy and practice of refusing to pay the minimum wage for all

 hours worked by Plaintiff and the Class.

         179.   Defendants’ failure to pay overtime compensation at the proper rate to Plaintiff

 and the Class was willful or otherwise lacked sufficient good faith within the meaning of N.Y.

 Lab. Law § 663.

         180.   As a consequence of the willful underpayment of wages, alleged above, Plaintiff

 and Class Members incurred damages thereby and Defendants is indebted to them in the amount

 of the unpaid minimum wages and such other legal and equitable relief due to Defendants’

 unlawful and willful conduct, as the Court deems just and proper.

         181.   Plaintiff, on behalf of himself and the Class, seeks recovery of liquidated

 damages, attorneys’ fees, and costs to be paid by Defendants as provided by the NYLL.

                                THIRD CAUSE OF ACTION
                                  NYLL – Unpaid Overtime
                          (Brought on behalf of Plaintiff and the Class)

         182.   Plaintiff incorporates by reference all preceding allegations.

         183.   Defendants employed Plaintiff and Class Members for workweeks longer than 40

 hours and willfully failed to compensate Plaintiff at a rate of at least one and one-half times the

 applicable minimum wage rate for all hours over 40, in violation of the requirements of the

 NYLL.
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        184.    By the course of conduct set forth above, Defendants violated N.Y. Lab. Law §

 650, et seq.; 12 N.Y.C.R.R. §§ 142-2.2, 2.9.

        185.    Defendants had a policy and practice of refusing to pay overtime compensation at

 the proper rate to Plaintiff and the Class.

        186.    Defendants’ failure to pay overtime compensation at the proper rate to Plaintiff

 and the Class was willful or otherwise lacked sufficient good faith within the meaning of N.Y.

 Lab. Law § 663.

        187.    As a consequence of the willful underpayment of wages, alleged above, Plaintiff

 and Class Members incurred damages thereby and Defendants is indebted to them in the amount

 of the unpaid overtime compensation and such other legal and equitable relief due to Defendants’

 unlawful and willful conduct, as the Court deems just and proper.

        188.    Plaintiff, on behalf of himself and the Class, seeks recovery of liquidated

 damages, attorneys’ fees, and costs to be paid by Defendants as provided by the NYLL.

                              FOURTH CAUSE OF ACTION
                      NYLL – Wage Statement and Recordkeeping Claims
                        (Brought on behalf of Plaintiff and the Class)

        189.    Plaintiff incorporates by reference all preceding allegations.

        190.    N.Y. Lab. Law § 195(4) requires every employer to establish and maintain, for at

 least three years, inter alia, payroll records showing the hours worked, gross wages, deductions

 and net wages for each employee.

        191.    N.Y. Lab. Law § 661 requires every employer to maintain, inter alia, true and

 accurate records of hours worked by each employee covered by an hourly minimum wage rate,

 and the wages paid to all employees.

        192.    12 N.Y.C.R.R. § 142-2.6 requires every employer in miscellaneous industries to

 establish, maintain and preserve for six years weekly payroll records showing, inter alia, each
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 employee’s name, wage rate, number of hours worked daily and weekly, amount of gross and net

 wages, deductions from gross wages, and any allowances claimed as part of the minimum wage.

         193.   N.Y. Lab. Law § 195(3) requires employers to furnish each employee with a a

 statement with every payment listing gross wages, deductions taken from those wages, and the

 name of the employer, among other things.

         194.   N.Y. Lab. Law § 195(3) also requires employers to include the number of hours

 worked – both regular and overtime hours – to all employees who are not exempt from overtime

 compensation as established in the applicable minimum wage order.

         195.   Plaintiff and the Class Members are not exempt from overtime compensation as

 per the Section 142-2.2 of the Miscellaneous Industry Wage Order, 12 N.Y.C.R.R. § 142-2.2,

 which provides that employees subject to the exemptions in 29 U.S.C. § 213 are not exempt from

 the NYLL’s overtime requirements and are entitled to overtime at one and one-half times the

 minimum wage.

         196.   12 N.Y.C.R.R. § 142-2.7 requires every employer in miscellaneous industries to

 furnish each employee a statement with every payment of wages, listing hours worked, rates

 paid, gross and net wages, deductions, and allowances, if any, claimed as part of the minimum

 wage.

         197.   Defendant failed to comply with the notice and record keeping requirements of

 N.Y. Lab. Law § 195(3), resulting in damages under N.Y. Lab. Law § 198 for Plaintiff and the

 Class and attorneys’ fees and costs.




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                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, seek for

 the following relief:

         A.       That, at the earliest possible time, Plaintiff be allowed to give notice to the FLSA

 Collective, or that the Court issue such notice. Such notice shall inform them that this civil action has

 been filed, of the nature of the action, and of their right to join this lawsuit if they believe they were

 denied proper wages;

         B.       Unpaid minimum wage pay and an additional and equal amount as liquidated

 damages pursuant to the FLSA and NYLL;

         C.       Unpaid overtime pay under the NYLL;

         D.       Statutory damages for failure to provide wage statements under the NYLL;

         E.       Certification of this case as a class action pursuant to Rule 23 of the Federal Rules

 of Civil Procedure;

         F.       Designation of Plaintiff as representative of the Class, and counsel of record as

 Class Counsel;

         G.       Pre-judgment interest and post-judgment interest as provided by law;

         H.       Appropriate equitable and injunctive relief to remedy violations;

         I.       Attorneys’ fees and costs of the action;

         J.       Issuance of a declaratory judgment that the practices complained of in this action

 are unlawful under FLSA and NYLL;

         K.       Reasonable incentive awards for Plaintiff to compensate him for the time he spent

 attempting to recover wages for the Class and for the risks they took in doing so; and

         L.       Such other relief as this Court shall deem just and proper.

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 Dated: Melville, New York
        August 17, 2020
                                           Respectfully submitted,

                                           By: /s/ Troy L. Kessler
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